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                       UNITED STATES DISTRICT COURT
                                                      for the
                                               District of Colorado


                Mourant Ozannes (Jersey) LLP

                               Plaintiff

                                  V.                                  Civil Action No.1 :2 I-cv-02360-RM

               Darrin Stock and Tanya Dick Stock

                              Dofendant


                                           AFFIDAVIT OF SERVICE

   I, Johnathan Ty Blankenship, being duly sworn, state:

   I am 18 years or older and not a party to this action or a member of a corporation or organization that
   is a party to this action.

   I served the following documents on Tanya Dick Stock in Grayson County, TX on November 24,
   2021 at 5:48 pin at 139 Dove lane, Gordonville , TX 76245 by residential substituted service by
   leaving the documents at the usual place of abode of Tanya Dick Stock with John Doe (refused
   name) who is the Co-Resident of Tanya Dick Stock and wbose age is 18 years or older.

   Summons to Tanya Stock
   Civil Cover Sheet
   Amended Petition Seeking Registration, Recognition and Enforcement of Foreign Court Judgments
   Exhibit 1
   Exhibit 2
   Exhibit 3
   Exhibit 4
   Exhibit 5
   Exhibit 6

   Additional Description :
   I delivered the documents to Tanya Dick Stock's co-resident who refused to give me his name.

   White Male, est. age 40, glasses: N, No Hair hair, 2001bs to 220 lbs, 6' to 6' 3".
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   I DECLARE, UNDER OATH AND UNDER PENALTY OF PERJURY, UNDER THE LAWS 0F
   THE STATE 0F COLORADO, TIIAT TIIE FOREGOING IS TRUE AND CORRECT.



   Executed in Gra son Coun
      Texas      on   11/30/2021       Johnathan Ty Blankenship
                                       (903)271-5804
